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 SOUTHERN DISTRICT OF NEW YORK
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DRESSER-RAND COMPANY,

                                   Plaintiff,                             19 Civ. 2689 (LLS)

                 -against-                                          ORDER FOR JUDGMENT

PETROLEOS DE VENEZUELA, S.A. and
PDVSA PETROLEO, S.A.,

                                   Defendants.
------------------------------------------------------------X

                                       Certificate Under F.R.C.P. 54(b)

        There is no just reason for delay in entering final judgment against defendant PDVSA

Petrole6, S.A. ("Petrole6") as guarantor to plaintiff Dresser-Rand company of the prompt

payment when due of all obligations of the other defendant, Petrole6s de Venezuela, S .A.

("PDVSA") under the January 20, 2017 Note Agreement covering $119,645,069.70 Senior

Guaranteed Note, Series 2017 B.

         Under its guaranty Petrole6 "absolutely, irrevocably and unconditionally guarantees"

prompt payment, and waives all defenses, including unenforceability of the obligations, except

the defense of payment in full in cash. Id., § 6.04

         The Debtor PDVSA can assert the defense of impossibility, citing U.S. governmental

sanctions blocking PDVSA transactions in the United States, thus raising issues which prevent at

least temporarily, judgment against it.

         Petrole6 has no such defense. It has waived, in sweeping language (but a necessary step

to give practical effect to a guaranty) all defenses except payment. There is no defense that

stands between it and judgment. Entering judgment against Petrole6 has no effect on PDVSA's


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case, except that payments made by Petrole6 will reduce the amount of PDVSA's exposure.

       Under present circumstances there may be substantial impediments to Dresser-Rand

enforcing this favorable judgment, including encountering U.S. regulations. But it cannot address

those obstacles (such as by obtaining a license) effectively and realistically until it has the

judgment in hand. There is no just reason to delay that.

        Since only two payments were made before default and the interest rates are available, the

amounts due are calculable, and they have been calculated. As of May 1, 2020 the amount due to

Plaintiff under the Note agreement is $149,517,709.96. (Scherzer aff. May 27, 2020).

        Accordingly, it is ordered that the Clerk enter judgment in favor of Dresser Rand

Company and against defendant PDVSA Petrole6, S.A. in the amount of $149,517,709.96.

Dated: New York, New York
       May 29, 2020

                                                                ~~ L.sJMv-/..
                                                                LOUIS L. STANTON
                                                                  U.S.D.J.




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